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e General
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Kevin MCcry: Belleair Beach v

Wow, my feelings are hurt by
council members so | am going
to sue the residents of Belleair
Beach. Grow up. | called the
lawyer to ask her what she is
suing me for as a resident of
Belleair Beach. She mentioned
something about the 1st
amendment and then she hung
up on me. So much for my 1st
amendment rights. Such a
frivolous lawsuit against us. |
think each of us should call the
lawyer and ask why she is suing
us. Likely has a legal obligation
to speak with us since we are
being sued.

1hrago Like Reply

Paul Ferrare: Belleair Beach ¥

Wow, 2020 has been one hell of
a ride so far: pandemic, political

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